                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MISSOURI
                             WESTERN DISTRICT

UNITED STATES OF AMERICA,                    )
                                             )
                               Plaintiff,    )
                                             )
       vs.                                   ) Case No. 4:18-cr-00293-DGK
                                             )
TREVOR SPARKS,                               )
                                             )
                               Defendant,    )


                   DEFENDANT’S PROPOSED WITNESS LIST

       COMES NOW the Defendant, Trevor Sparks, by and through undersigned

counsel F.A. White Jr. and hereby files a list of the following witnesses he may

call at the trial of this matter:

       1. Any government (law enforcement) agent involved in any of the

             investigations relevant to the allegations of the Indictment.

       2. Any witness relating to impeachment of any government or defense

             witnesses. (These witnesses cannot be determined at his time because

             the parties have not provided this evidence.)

       3. The defendant reserves the right to call rebuttal witnesses.

       4. The defendant reserves the right to call any witness listed by the

             government on its proposed witness list, identified in the discovery

             produced by the government, identified in rebuttal, or identified in

             surrebuttal.


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      5. The defendant may elect to testify.

      6. The defendant reserves the right to amend this list.



                                         Respectfully submitted,



                                         /s/ F.A. “Al” White, Jr.
                                         F.A. White, Jr., MO 22565
                                         7924 N. Cherry, St.
                                         Kansas City, MO 64118
                                         816-454-5300
                                         ATTORNEY FOR DEFENDANT


                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the above and foregoing
was electronically filed with the Court this 28th day of October, 2022.

                                         /s/ F.A. “Al” White, Jr.
                                         F.A. White, Jr.




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